                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:23-CV-00888-FDW-SCR


 ANGELA MYERS, et. al.,                              )
                                                     )
                   Plaintiffs,                       )
                                                     )
 v.                                                  )                 ORDER
                                                     )
 NATIONAL ASSOCIATION FOR                            )
 STOCK CAR AUTO RACING, INC., et,                    )
 al,                                                 )
                                                     )
                  Defendants.                        )



        THIS MATTER is before the Court on the “Motion[s] for Admission Pro Hac Vice and

Affidavit[s] [for Courtney E. Maccarone and Gary S. Ishimoto]” (Doc. Nos. 37 & 38) filed

December 3, 2024. For the reasons set forth therein, the Motions will be granted.


        All counsel are advised that local counsel must sign all documents submitted to the Court

and as such are accountable for the substance of such submissions under Rule 11 of the Federal

Rules of Civil Procedure.


        The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel and to the Honorable Frank D. Whitney.
                                 Signed: December 3, 2024
        SO ORDERED.




      Case 3:23-cv-00888-FDW-SCR              Document 39     Filed 12/03/24      Page 1 of 1
